 1                                                                          The Honorable Mary Jo Heston
                                                                          Hearing Date: September 17, 2018
 2
                                                                                   Hearing Time: 9:00 a.m.
 3                                                                                               Chapter 7
                                                                                         Location: Tacoma
 4
                                 UNITED STATES BANKRUPTCY COURT
 5                               WESTERN DISTRICT OF WASHINGTON
 6
      In re:                                                No. 17-41711
 7
 8    HEATHER STEWART,                                      MOTION TO APPROVE SALE OF
                                                            PROPERTY FREE AND CLEAR OF LIENS
 9                                     Debtor.              PURSUANT TO 11 U.S.C. § 363 (f)
10
11             COMES NOW the Trustee, Kathryn A. Ellis, by and through the undersigned attorney,

12   and moves the Court for an order permitting sale of the real property located at 8305 Cirque Dr

13   W, #5, University Place, WA, free and clear of all liens, for the sum of $171,690.00 to Thomas
14
     McGrath, and/or assigns, or to the individual(s) making the highest and best offer to the estate at
15
     or before the hearing on this Motion.
16
               The Trustee also seeks authority to pay the first position Deed of Trust of Federal
17
18   National Mortgage Association, and/or assigns, in full in the amount of approximately

19   $145,075.35, plus interest, and the second position Deed of Trust of The Bank of New York
20   Mellon1, and/or assigns, in the amount of approximately $6,743.59, or such sum as may be
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     negotiated or adjusted to accomplish a “final sale”, in full satisfaction of its lien against this
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     property after all costs of closing, including real estate commissions, property taxes, excise
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     taxes, statutory utility and/or HOA liens, and other closing costs, together with a buyer’s
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               1
                      “The Bank of New York Mellon, fka The Bank of New York, as trustee for the benefit of the
26
                      certificateholders of the CWHEQ Inc., CWHEQ Revolving Home Equity Loan Trust, Series 2007-
                      C”.
27
                                                                                    KATHRYN A. ELLIS, ESQ.
28                                                                                          5506 6th Ave S
                                                                                               Suite 207
     MOTION TO APPROVE SALE OF PROPERTY FREE                                              Seattle, WA 98108
     AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363 (f) - 1                                (206) 682-5002


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 1   premium to the estate in the amount of $15,000. The Trustee agrees that at least two thirds of
 2
     such amount will be distributed to unsecured creditors.
 3
               Said sale to Thomas McGrath, and/or assigns, will be free and clear of all liens and
 4
     interests, said liens and interests to attach to the proceeds of the sale as though those proceeds
 5
 6   were the property. Notwithstanding the foregoing, the Trustee requests the authority to pay the

 7   above named secured creditors in the approximate amounts stated.

 8             DATED this 5th day of September, 2018.
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10                                                                /s/ Kathryn A. Ellis
                                                                  Kathryn A. Ellis, WSBA #14333
11                                                                Attorney for Trustee
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                                                                                   KATHRYN A. ELLIS, ESQ.
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